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                                          August 5, 2022

BY HAND DELIVERY & CM/ECF

The Honorable Leonard P. Stark
United States District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 North King Street
Wilmington, DE 19801-3570

               Re:     Crystallex International Corp. v. Bolivarian Republic of Venezuela, D.
                       Del. C.A. No. 1:17-mc-00151-LPS

Dear Judge Stark:

Pursuant to the Court’s Order dated July 27, 2022, I write to submit this joint status report
(“Joint Status Report”) on behalf of Special Master Robert B. Pincus (the “Special
Master”), as well as Crystallex, the Venezuela Parties and ConocoPhillips (collectively, the “Sale
Process Parties,” and each a “Sale Process Party”) in the above-referenced matter.
Consistent with the Order, the Special Master consulted with the Sale Process Parties regarding
the contents of this Joint Status Report. 1

                                         Joint Statement

On July 27, 2022, the Court issued a Memorandum Order [D.I. 469] (the “Order”) in which the
Court, among other things, (i) deemed as resolved Crystallex’s and ConocoPhillips’ objections to
the Fourth Revised Proposed Order (A) Establishing Sale and Bidding Procedures, (B) Approving
Special Master’s Report and Recommendations Regarding Proposed Sale Procedures Order, (C)
Affirming Retention of Evercore as Investment Banker by Special Master and (D) Regarding
Related Matters [D.I. 451-1] (the “Fourth Revised Proposed Sale Procedures Order”), (ii) ruled
on the Venezuela Parties’ outstanding objections to the Fourth Revised Proposed Sale Procedures
Order, (iii) authorized the Special Master to execute the original Proposed Evercore Engagement
Letter [D.I. 411-1 Ex. 3], and (iv) ordered the Sale Process Parties and Special Master to meet and
confer and, no later than August 5, 2022, to submit a joint status report advising the Court as to
their position(s) as to the next steps the Court should take, and (v) directed the Special Master to

1
  Capitalized terms used but not defined shall have the meaning ascribed to such terms below or,
if not defined below, the meaning ascribed to such terms in the Fifth Revised Proposed Sale
Procedures Order.
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include with the status report a revised version of the Fourth Revised Proposed Sale Procedures
Order, consistent with the decisions announced in the Order, that the Court may sign and docket.

On August 2, 2022, the Special Master and the Sale Process Parties held a meet and confer to
discuss the Court’s instructions as set forth in the Order. Following such discussions, the Special
Master and the Sale Process Parties have agreed to submit this Joint Status Report. Per the Court’s
instructions in the Order, a final proposed sale procedures order (the “Fifth Revised Proposed
Sale Procedures Order”) is attached as Exhibit A hereto. The Fifth Revised Proposed Sale
Procedures Order incorporates the Court’s rulings as set forth in the Order and as reflected in the
redline attached as Exhibit B hereto.

With respect to next steps that the Court should take, the Special Master respectfully submits as
follows.

The Special Master intends to carry out his duties and tasks as described in the Fifth Revised
Proposed Sale Procedures Order as promptly as possible according to the timeline set forth therein.
Accordingly, upon entry of the Fifth Revised Proposed Sale Procedures Order, the Special Master
intends to (i) engage with the Executive Branch, including OFAC, to seek clarity or guidance on
its support for (or non-opposition to) the launch of the Marketing Process, (ii) execute the original
Proposed Evercore Engagement Letter, 2 and (iii) thereafter, carry out his duties in preparation for
the Marketing Process as provided in the Fifth Revised Proposed Sale Procedures Order.

The Special Master further notes that he intends to commence discussions with the advisors to the
PDVSA 2020 Bondholders, who have expressed their intention to play a constructive role in the
sale process. While no formal engagement with counsel to the PDVSA 2020 Bondholders has
been established, the Special Master believes exploring discussions with counsel to the PDVSA
2020 Bondholders about any participation, consent or other coordination with such bondholders
in the current sale process contemplated by the Fifth Revised Proposed Sale Procedures Order
could help further a value-maximizing transaction.

The Special Master is not aware of any positions contrary to the positions stated in this Joint Status
Report, other than the following statement from the Venezuela Parties:




2
  While the Special Master plans to activate Evercore’s services (and, by extension, its monthly
fees for such services) shortly after submission of the Supplemental Report in order to facilitate
initial communications with Potential Bidders before the Preparation Launch Date, the Special
Master reserves the right to activate Evercore’s services on an earlier date if he deems such services
necessary to perform his duties. The Special Master will keep the Sale Process Parties apprised of
any change in the timing of his decision to activate Evercore’s services.
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       The Venezuela Parties have objections and concerns related to the participation by
       the 2020 Bondholders in the sale process in the manner potentially contemplated
       by the Special Master. As explained in more detail in the attached letter previously
       submitted to the Special Master, the Special Master’s jurisdiction has limits and
       does not extend to any and all property of PDVH including the unattached CITGO
       Holding stock that is at issue in the 2020 Bondholders litigation; the Bondholders
       are currently barred from taking any action with regard to their collateral by virtue
       of a stay entered by the U.S. District Court for the Southern District of New York;
       and inclusion of the PDVSA Bondholders in discussions with OFAC would cause
       unnecessary complications that could delay OFAC’s response to any inquiries or
       requests. (The objection in Section IV of the attached letter has been sustained by
       the Special Master and corresponding revisions to the proposed sale procedures
       order have been incorporated.) For the avoidance of doubt, the Venezuela Parties
       otherwise maintain and reserve all of their objections regarding the proposed sale
       procedures and the Evercore retention agreement but recognize that the Court has
       overruled those objections.

The letter from the Venezuela Parties’ setting forth their objections is attached hereto as Exhibit C.
The Special Master believes that this joint status report, as revised by the Special Master, addresses
the concerns raised by the Venezuela Parties in their letter; however, the Special Master reserves
the right to submit an additional response to the letter should he determine it necessary
or appropriate.

In addition to the foregoing, ConocoPhillips has informed the Special Master of its position that
to be a Sale Process Party, the PDVSA 2020 Bondholders must, at a minimum, have a Delaware
registered judgment against PDVSA. Crystallex has informed the Special Master that it has no
objection to the Special Master engaging in discussions with the advisors to the PDVSA 2020
Bondholders as part of the sale process. However, in the absence of any specific proposal as to
the role, if any, the PDVSA 2020 Bondholders seek in connection with the sale process, Crystallex
states that it cannot and does not, at this stage, take a position as to what further involvement, if
any, of the PDVSA 2020 Bondholders may be appropriate.

The Special Master has informed the Sale Process Parties that if they have any views different
from the Special Master, they should make the Court aware.
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                                         Respectfully,

                                         /s/ Myron T. Steele

                                         Myron T. Steele (#00002)

                                         Counsel for Special Master
                                         Robert B. Pincus



MTS/nmt/10289697
cc:  All Counsel (via CM/ECF)
